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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


In re FICO Antitrust Litigation
                                        Case No. 20-cv-02114
This document relates to:               Honorable Edmond E. Chang
ALL ACTIONS                             Magistrate Judge David E. Weisman




   FAIR ISAAC CORPORATION’S MEMORANDUM IN SUPPORT OF ITS
MOTION TO DISMISS THE DIRECT PURCHASER PLAINTIFFS’ AND INDIRECT
       PURCHASER PLAINTIFFS’ CONSOLIDATED COMPLAINTS




Dated: January 18, 2022                 Britt M. Miller
                                        Matthew D. Provance
                                        Jed W. Glickstein
                                        MAYER BROWN LLP
                                        71 South Wacker Drive
                                        Chicago, IL 60606-4637
                                        (312) 782-0600
                                        (312) 701-7711—Facsimile
                                        bmiller@mayerbrown.com
                                        mprovance@mayerbrown.com
                                        jglickstein@mayerbrown.com

                                        Counsel for Defendant
                                        Fair Isaac Corporation
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                                       INTRODUCTION

       This litigation consolidates 10 substantially identical complaints filed by plaintiffs’

attorneys in early 2020. Relying on recycled allegations and empty labels, Plaintiffs assert that

Fair Isaac Corporation (“FICO”) masterminded a sweeping conspiracy to protect its supposed

“monopoly” in the “business-to-business” market for credit scores. These claims are not plausible,

even taking the complaints’ selective and misleading allegations as true.

       FICO develops and licenses credit scoring algorithms that help businesses make rapid,

accurate decisions about extensions of credit. FICO cannot produce credit scores on its own. Its

algorithms must be combined with consumer credit data controlled by three major credit bureaus—

Equifax, Experian, and TransUnion (the “Credit Bureaus”). Accordingly, FICO licenses its scoring

models to the Credit Bureaus, who in turn sell FICO Scores and other products and services to

end-users. Such licensing arrangements are quintessentially procompetitive.

       Plaintiffs principally challenge certain alleged terms of FICO’s license agreements with

the Credit Bureaus, which Plaintiffs have never seen. The crux of Plaintiffs’ argument is that the

license agreements, while not purporting to do so on their face, have “excluded” competing credit

scoring algorithms from the market and thereby allowed FICO to raise prices. But Plaintiffs do not

allege that they even wished to use competing scores, let alone that they or any other purchaser

sought to obtain a competing score from the Credit Bureaus and were refused. Moreover, the

purported target of these practices—the Credit Bureaus’ competing credit scoring venture,

VantageScore—has reported tremendous year-over-year growth throughout the period in which

Plaintiffs allege it was effectively excluded from the market.

       Unsurprisingly, Plaintiffs’ attempt to construct viable antitrust claims from these

allegations does not withstand scrutiny.




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       First, the allegation that FICO is liable for monopolization of the alleged “B2B” credit

score market cannot get off the ground. Plaintiffs fail to allege that FICO has monopoly power in

that market, or that FICO maintained its so-called “monopoly” through anticompetitive means.

       Second, Plaintiffs fail to plausibly allege an agreement between FICO and the Credit

Bureaus that unreasonably restrains competition. Plaintiffs’ first theory—that the Credit Bureaus

conspired among themselves to destroy their own joint venture that competes with FICO—is

inherently implausible and contrary to Seventh Circuit law. Their second theory—that the Credit

Bureaus’ individual distribution agreements with FICO are each unlawful per se or under the rule

of reason—also fails. The provisions Plaintiffs challenge are part and parcel of a procompetitive

vertical arrangement to facilitate the production and distribution of FICO Scores. Moreover,

despite asserting that these terms have effectively “excluded” competitors by precluding the Credit

Bureaus from distributing competing credit scores, Plaintiffs do not allege any facts showing the

exclusion of any competitor from the market.

       Third, all of Plaintiffs’ claims fail because Plaintiffs do not allege that FICO’s conduct had

anticompetitive effects. Plaintiffs rely on conclusory allegations about reduced “choice” or

“supracompetitive prices” but do not allege facts showing that the prices they pay for credit scores

have gone up—much less that FICO caused any such increase.

       Finally, even if Plaintiffs could state a federal antitrust claim—they cannot—they could

not recover damages because they are indirect purchasers under Illinois Brick. And Plaintiffs’ state

law claims merely restate their failed federal theories and are insufficient for independent reasons.

In short, Plaintiffs’ claims fail as a matter of law and should be dismissed.




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                                           BACKGROUND1

I.       The Alleged Credit Score Markets.

         Plaintiffs are banks, credit unions, financial services companies, property management

companies and automobile dealers that use credit scores to assist them in making individual credit

decisions. Their complaints focus on the alleged “business to business” (“B2B”) credit score

market, defined as “the market for the sale of [credit] scores to banks, mortgage companies, credit

unions, and other businesses that assess individual credit risk.” Plaintiffs allege that the B2B

market is distinct from the alleged “business to consumer” (“B2C”) credit score market, defined

as “the market for the sale of [credit] scores to the individual who is the subject of them.” 2

         A “credit score” refers to the output of a model used to predict the likelihood that a given

consumer will become delinquent on a credit obligation. Each credit score is accompanied by

“reason codes,” model-specific alphanumeric codes and descriptions corresponding to the primary

factors that impact a given individual’s credit score.3 The generation and delivery of a credit score

involves at least three steps: collecting credit data, applying an algorithm (or “scoring model”),

and distributing the score to end-users.

         Step 1: Data. Plaintiffs allege that the three nationwide Credit Bureaus—sometimes known

as “credit reporting agencies” or “CRAs”— control “virtually 100%” of the aggregated credit data




1
         This section draws on allegations in the complaints, documents cited in the complaints and
incorporated by reference, and documents subject to judicial notice. FICO assumes the truth of Plaintiffs’
allegations only for purposes of this motion. See G.O.A.T. Climb & Cryo, LLC v. Twin City Fire Ins. Co.,
2021 WL 2853370, at *1 (N.D. Ill. July 8, 2021); Brownmark Films, LLC v. Comedy Partners, 682 F.3d
687, 690 (7th Cir. 2012) (“if a plaintiff mentions a document in his complaint, the defendant may then
submit the document to the court without converting defendant’s 12(b)(6) motion to a motion for summary
judgment”).
2
         Direct Purchaser Plaintiffs’ Consolidated Class Action Complaint, Dkt. 121 (“DPP”) ¶ 1; Indirect
Purchaser Plaintiffs’ Amended Class Action Complaint, Dkt. 122 (“IPP”) ¶ 1.
3
         DPP ¶ 36; IPP ¶ 37.


                                                    3
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needed to generate credit scores.4 As Plaintiffs allege, “replicating the databases of the leading

credit bureaus would be incredibly difficult,” and control over this key input gives each of the

Credit Bureaus “substantial market power.” 5

        Step 2: Scoring Model(s). Many different companies offer credit scoring algorithms,

including FICO, VantageScore Solutions, LLC (“VantageScore”), SageStream, LexisNexis,

CoreLogic Credco, PRBC, ChexSystems, L2C, and ScoreLogix LLC. 6 FICO offers different types

of “FICO Scores” for specific purposes, such as auto and credit card lending. FICO’s best-known

score ranges from 300 to 850, with higher numbers indicating lower credit risk. 7

        FICO licenses its scoring models to the Credit Bureaus, and the Credit Bureaus generate

scores and distribute them to end-users. The Credit Bureaus pay FICO royalties for using FICO’s

scoring models, which vary based on volume and use case—e.g., approving a mortgage or loan

application, making a “pre-qualified” credit solicitation, or disclosing a credit score to the end-

user’s customers as part of a credit monitoring program. 8

        In 2006, the three Credit Bureaus created a joint venture, VantageScore, that competes with

FICO by developing and promoting alternative credit scoring models. VantageScore differentiates

its credit scores from FICO’s in a number of ways. For example, VantageScore claims that its

credit scores are consistent across the three Credit Bureaus and that it uses more granular data to

develop its models.9 VantageScore’s most recent models are VantageScore 3.0 and 4.0, which

debuted in 2013 and 2017, respectively. Like FICO, VantageScore licenses its scoring models to




4
        DPP ¶ 3; IPP ¶ 3.
5
        DPP ¶¶ 59-60, 202, 220, 236; IPP ¶¶ 71-72, 229, 248, 267.
6
        IPP ¶¶ 86-87.
7
        DPP ¶ 89; IPP ¶ 74.
8
        DPP ¶ 42; IPP ¶ 46.
9
        DPP ¶ 104; IPP ¶ 121.


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each of the Credit Bureaus.10 VantageScore regularly publishes reports touting its market

penetration. A recent market adoption report available on VantageScore’s public website claims

that “the VantageScore models accounted for approximately 12.3 billion of the credit scores used

in the period between July 2018 – June 2019,” with “[m]ore than 2,500 unique users of

VantageScore credit scores, including 2,200 financial institutions.”11

         Step 3: Distribution. Once generated, credit scores are distributed to end-users. Sometimes,

the score is distributed as a standalone product. Other times, the score is included with other credit

information known as a “credit report.” Plaintiffs allege that the Credit Bureaus dominate both

distribution channels. FICO is “often dependent” on the Credit Bureaus, which “sell lenders,

financial institutions, and other businesses credit reports and credit scores—including Fair Isaac’s

FICO Scores—in every state.”12 Plaintiffs also allege that the Credit Bureaus control “virtually

all” of the credit report market.13

         In limited cases, FICO allegedly sold scores “directly” to business end-users, although for

such sales the Credit Bureau generated the credit score (and, if applicable, credit report) and

provided it to FICO for delivery.14 Plaintiffs do not allege any facts about these sales, including

what proportion of FICO Scores or credit reports are “FICO-Direct” sales. This reflects the fact

that, as discussed below, no Plaintiff purchases FICO Scores from FICO. Instead, Plaintiffs

purchase from and make payment to the Credit Bureaus. See pp. 36-39 infra.

         The Credit Bureaus’ control over distribution of credit scores also includes control over

price. As noted above, the Credit Bureaus pay FICO a royalty for using FICO’s scoring models to


10
        DPP ¶¶ 6, 71-73, 138; IPP ¶¶ 10, 87-89, 158.
11
        VantageScore, Market Adoption, https://vantagescore.com/lenders/why-vantagescore/market-
adoption-who-uses-vs (all websites last visited January 18, 2022).
12
        DPP ¶¶ 3-5, 41; IPP ¶¶ 5-7, 45.
13
        DPP ¶¶ 56-57, 59; IPP ¶¶ 68-69, 71.
14
        DPP ¶ 44; IPP ¶ 48.


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generate a FICO Score. But Plaintiffs do not—and cannot—allege that FICO sets the prices that

end-users pay for FICO Scores. It is well-understood in the industry that “[t]he CRAs . . . own,

price, and distribute consumer credit data and credit scores.” 15 As the Federal Housing Finance

Agency (“FHFA”) has explained, “it is the CRAs, not FICO and VantageScore, that sell and

negotiate the price of these scores to lenders and other end-users”; “[e]ach CRA sets the price of

the FICO score when it is sold as either a standalone score or bundled with a credit report.” 16

         The Credit Bureaus thus are alleged to have substantial, and often dominant, control over

the sale and distribution of credit scores in the United States.

II.      Purportedly Anticompetitive Activity.

         Plaintiffs filed a series of overlapping complaints in this District in April and May 2020.

FICO promptly moved to centralize all of the complaints pursuant to Local Rule 40.4(b). After the

Court granted FICO’s motion, Dkt. 49, a leadership dispute arose between Plaintiffs’ counsel over

the proper characterization of certain Plaintiffs under Illinois Brick Co. v. Illinois, 431 U.S. 720

(1977). In particular, Plaintiffs’ counsel disagreed over the status of the “Credit Bureau

Purchasers”—businesses that allegedly “bought credit scores from FICO through agreements with

FICO and the credit bureaus.” Dkt. 83 at 7 (emphasis added).

          The Court resolved the dispute by appointing Scott+Scott as interim lead counsel for the

businesses who purportedly purchased credit scores directly from FICO (the “FICO-Direct

Purchasers”) and the Credit Bureau Purchasers. Id. at 18. Although the Court grouped the Credit


15
         Fed. Housing Fin. Agency, Validation and Approval of Credit Score Models Final Rule, 84 Fed.
Reg. 41886, 41891 (Aug. 16, 2019) (cited at DPP n.99 and IPP n.84).
16
         Fed. Housing Fin. Agency, Credit Score Request for Input 11 (Dec. 20, 2017),
https://www.fhfa.gov/Media/PublicAffairs/PublicAffairsDocuments/CreditScore_RFI-2017.pdf; see also
Consumer Fin. Protection Bureau, Key Dimensions and Processes in the U.S. Credit Reporting System:
A Review of How The Nation’s Largest Credit Bureaus Manage Consumer Data 10 (Dec. 2012) (“The
lender will pay the bureau a fee for the credit report information and an additional amount for the score.”);
Denan v. Trans Union LLC, 959 F.3d 290, 294 n.3 (7th Cir. 2020) (taking judicial notice of a CFPB report).


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Bureau Purchasers with the FICO-Direct Purchasers for purposes of consolidation, the Court did

not decide whether the FICO-Direct Purchasers or Credit Bureau Purchasers were direct or indirect

purchasers under Illinois Brick. See id. at 12. Following the Court’s Order, Plaintiffs filed separate

consolidated amended complaints on behalf of putative classes of all purported “direct” and

“indirect” U.S. purchasers of FICO scores from October 1, 2006 to the present. Dkt. 121; Dkt. 122.

         The two consolidated complaints are nearly identical. Both rest on allegations that FICO

leveled a “comprehensive attack” against VantageScore to exclude it from the market and enable

FICO to charge “supracompetitive” prices for FICO Scores. 17 This supposed “attack” had three

facets, which are discussed in turn below.

                A.      The Equifax litigation.

         In 2006, FICO sued the Credit Bureaus and VantageScore for copyright infringement, false

advertising, and antitrust violations. FICO v. Equifax et al., No. 06-cv-4112 (D. Minn.). Following

a trial, the district court entered judgment in defendants’ favor, and the Eighth Circuit affirmed.

FICO v. Experian Info. Sols., Inc., 650 F.3d 1139 (8th Cir. 2011). Plaintiffs assert that the Equifax

litigation “inhibited” VantageScore’s growth during its “first few years.” 18 The only support

Plaintiffs offer for this statement is a 2016 VantageScore release, which states that the matter was

“put to rest” when the Eighth Circuit affirmed the trial court’s decision. That same release

highlights numerous developments that enhanced VantageScore’s competitive position since

2006, including 2012 changes to the Federal Deposit Insurance Corporation’s rules for assessing

default risk that “enable[d] FDIC-insured large banks to use any valid credit scoring model they

choose,” and possible changes to credit scoring rules in the conforming mortgage market. The

release also makes clear that to the extent VantageScore was “inhibited” in its first few years, it


17
         DPP ¶ 87; IPP ¶ 102.
18
         DPP ¶¶ 89, 95; IPP ¶¶ 104, 110.


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showed no ill-effect a decade later. “[M]ore than 6 billion VantageScore credit scores were used

from July 2014 to June 2015 by more than 2000 lenders and other market participants,”

representing “an increase in usage of more than 100 percent over the previous 12-month period.” 19

                B.     License agreements.

         FICO separately negotiated new license agreements with each of the Credit Bureaus

between 2013 and 2015: May 2013 (Experian), November 2013 (Equifax), and February 2015

(TransUnion).20 Plaintiffs have never seen any of these agreements and rely on allegations in a

counterclaim TransUnion filed against FICO during since-settled litigation over TransUnion’s

royalty payments.21 Based on these second- and third-hand allegations, Plaintiffs assert that certain

terms in FICO’s license agreements with the Credit Bureaus “preserve[d] Fair Isaac’s monopoly

while compensating the Credit Bureaus for the marginalization of VantageScore[].” 22

         The claim that FICO’s license agreements have inhibited competition rests on

mischaracterization and conjecture. While Plaintiffs contend that those agreements have

“exclude[d] VantageScore from competing for customers in the B2B credit score market,” 23

Plaintiffs do not allege any facts about VantageScore’s market share or ability to compete after the

agreements were signed. Nor can they reconcile their allegations with the fact that all three Credit

Bureaus still market and distribute VantageScore, which competes against FICO to this day. 24



19
         VantageScore Solutions, 10 Years, 10 Milestones (Mar. 2016) (“Milestones”),
https://vantagescore.com/the-score-newsletter/10-years-10-milestones-1 (cited in DPP n.56 & IPP n. 50).
See also DPP ¶ 104; IPP ¶ 121.
20
         DPP ¶¶ 96-97, 105-06; IPP ¶¶ 122-23.
21
         As Plaintiffs note, the Department of Justice initiated a civil investigation into TransUnion’s
allegations, but closed the investigation without action in December 2020. DPP ¶ 100; IPP ¶ 115.
22
         DPP ¶ 105; IPP ¶ 122.
23
         DPP ¶ 12; IPP ¶¶ 202, 220, 258, 276.
24
         See, e.g., Experian, VantageScore Lenders, https://www.experian.com/consumer-information/
vantagescore-lenders; Equifax, VantageScore, https://www.equifax.com/business/product/vantagescore.
TransUnion, VantageScore 3.0, https://www.transunion.com/product/vantagescore; see also Fed. Housing
Finance Agency, Validation and Approval of Credit Score Models, 83 Fed. Reg. 65575, 65576 n.7 (Dec.


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                C.      Advertising.

        Plaintiffs’ final challenge is based on allegedly “disparaging” statements FICO made about

VantageScore after 2016. This includes statements that VantageScores are not FICO Scores and

studies concluding that a FICO research score for traditionally “unscoreable” consumers with

sparse or old credit data was not strongly predictive. It also includes statements FICO allegedly

made in 2018 and 2019 concerning FHFA rulemaking activities. Plaintiffs claim that FICO’s

purported “campaign” led to “fear, uncertainty, and doubt about VantageScore in the

marketplace.”25 But Plaintiffs do not offer any factual allegations to substantiate this assertion. To

the contrary, Plaintiffs allege that the FHFA ultimately “adopted a final rule that permitted rival

generators of credit scores to apply to serve Fannie Mae and Freddie Mac” in 2019. 26

                                            ARGUMENT

        To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In making this

assessment, a court ignores conclusory statements and focuses on well-pled factual allegations. Id.

The plausibility requirement is particularly important in antitrust cases given the enormous costs

of discovery. “It is no answer to say that a claim just shy of a plausible entitlement to relief can, if

groundless, be weeded out early in the discovery process.” Twombly, 550 U.S. at 559. Rather, “a

district court must retain the power to insist upon some specificity in pleading before allowing a

potentially massive factual controversy to proceed.” Id. at 558 (quoting Associated Gen.

Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 528 n.17 (1983)).


21, 2018) (“[c]urrently” the three “nationwide CRAs” sell consumer credit data, “including credit scores
that are produced by algorithms developed by other companies (e.g., FICO or VantageScore LLC)”).
25
         DPP ¶¶ 131-39, 143; IPP ¶¶ 154-61.
26
         DPP ¶ 139; IPP ¶ 159.


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I.       Plaintiffs Fail To Plead A Plausible Monopolization Claim.

         Plaintiffs’ Claim 5 alleges that FICO has unlawfully monopolized the “B2B” credit score

market in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, through a “decades-long

campaign” to “crush” its competitor, VantageScore.27 Like so much of the complaints, that FICO

purportedly wished to “crush” VantageScore is mere rhetoric. “Intent to harm rivals” is “not a

useful standard” in antitrust law.” Ball Mem. Hosp., Inc. v. Mutual Hosp. Ins., 784 F.2d 1325,

1338-39 (7th Cir. 1986). “Vigorous competitors intend to harm rivals, to do all the business if they

can. To penalize this intent is to penalize competition.” Id.; see also Ocean State Phys. Health

Plan, Inc. v. Blue Cross & Blue Shield of R.I., 883 F.2d 1101, 1113 (1st Cir. 1989) (“desire to

crush a competitor” is “insufficient to make out a violation of the antitrust laws”).

         Once Plaintiffs’ rhetoric is set aside, the monopolization claim crumbles. To state a claim

for monopolization, Plaintiffs must allege both (1) the possession of monopoly power in the

relevant market, and (2) the willful acquisition or maintenance of that power through

anticompetitive means. Goldwasser v. Ameritech Corp., 222 F. 3d 390, 396-97 (7th Cir. 2000). As

shown below, however, Plaintiffs fail to allege facts supporting either of these elements.

         A.     Plaintiffs do not plausibly allege that FICO possesses monopoly power.

         Monopoly power is “the power to control prices or exclude competition” in a market.

United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391 (1956). Here, Plaintiffs claim

that the relevant market is “the market for the sale of B2B credit scores” and that FICO has a

monopoly because it “has had and continues to have at least a 90% market share.” 28 For at least

three reasons, Plaintiffs’ allegations are insufficient to establish that FICO has monopoly power.




27
         DPP ¶ 8-13, 101; IPP ¶¶ 12-16, 118.
28
         DPP ¶¶ 241-43; IPP ¶¶ 272-74.


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         First, Plaintiffs’ allegations of a 90% “market share” are unsupported. Plaintiffs rely on

estimates that “FICO Scores are used for 90% of all lending decisions in the United States” and

more than 10 billion FICO Scores are sold each year.29 But a source cited in Plaintiffs’ complaints

states that “[t]here is no reliable source of market share information between model developers

because the total number of credit scores used is not ascertainable.” 30 Additionally, that same

source recognizes that lenders “use a variety of custom [i.e., proprietary] and third-party credit

scores to make decisions.”31 As a result, the allegation that FICO Scores are used in 90% of lending

decisions does not mean that other credit scores, like VantageScore, have only 10% of the market.

         Second, even if the complaints’ allegations plausibly supported a 90% market share for

FICO Scores, that still would not suggest that FICO has a monopoly. “[W]hile market share may

indicate market power in certain cases, the two are not necessarily the same.” Indiana Grocery,

Inc. v. Super Valu Stores, Inc., 864 F.2d 1409, 1414 (7th Cir. 1989); see also Int’l Distribution

Ctrs., Inc. v. Walsh Trucking Co., 812 F.2d 786, 792 (2d Cir. 1987) (“market share analysis, while

essential, is not necessarily determinative in the calculation of monopoly power”). Market share

indicates market power only when it “reflect[s] an ability to curtail total market output” or raise

price. Indiana Grocery, 864 F.2d at 1414. But Plaintiffs have not plausibly alleged that FICO has

the power to control output or raise prices in the “B2B” market for credit scores.

         At most, Plaintiffs have alleged that FICO has market power in the market for scoring

algorithms, but that is insufficient to state a claim for monopolization of the alleged B2B credit


29
         DPP ¶¶ 2, 63-64; IPP ¶¶ 2, 77-78.
30
         VantageScore Solutions, VantageScore® Credit Scores and The Mortgage Market 9 (2018),
         https://vantagescore.com/pdfs/FAQs-VantageScore-Credit-Scores-and-the-Mortgage-Market.pdf
         (cited at DPP n.50 & IPP n. 46) (“Mortgage Market”); see also Alistair Gray, FINANCIAL TIMES,
         Credit score row as FICO chief hits out at banks over ‘Fako’ rivals, Dec. 5, 2017,
         https://www.ft.com/content/2222880c-cfa5-11e7-9dbb-291a884dd8c6 (“Lenders often use several
         different measures in their decisions.”) (cited at DPP n. 86).
31
         VantageScore, Mortgage Market, supra n. 30, at 7.


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score market, in which Plaintiffs are purchasers. FICO does not set the price for FICO Scores

distributed to lenders and other “B2B” end-users. FICO sets the royalty the Credit Bureaus pay to

license its algorithms, while the Credit Bureaus control the distribution and price of credit scores.

See supra pp. 5-6; In re Zinc Antitrust Litig., 155 F. Supp. 3d 337, 380 (S.D.N.Y. 2016) (dismissing

monopolization claim because the defendant’s “alleged domination of certain aspects of the

physical zinc market is irrelevant to a claim that it . . . monopolize[d] the market for LME zinc

warehousing services”).

         The allegation that there are barriers to entry also cannot plausibly establish FICO’s

monopoly power in the alleged B2B credit score market. 32 Because Plaintiffs allege that the Credit

Bureaus control the data and distribution channels necessary to deliver a credit score, see supra

p. 5, any supposed barriers to entry by other model providers do not plausibly mean that FICO

controls the price or output of credit scores. Without the power to “control a given market’s total

output” or price, “it matters little that high barriers to entry might exist to help that firm maintain

monopoly power it could never achieve.” Indiana Grocery, 864 F.2d at 1415.

         Third, Plaintiffs’ own allegations show that FICO does not have monopoly power.

Plaintiffs allege that the Credit Bureaus’ control over consumer credit data and channels of

distribution gives each Credit Bureau “substantial market power.” 33 Yet as courts have recognized,

“[t]he very phrase ‘shared monopoly’ is paradoxical.” Oxbow Carbon & Minerals LLC v. Union

Pac. R. Co., 926 F. Supp. 2d 36, 46 (D.D.C. 2013); see also Sun Dun, Inc. of Wash. v. Coca-Cola

Co., 740 F. Supp. 381, 391 (D. Md. 1990) (“monopoly” refers to “the complete domination of a

market by a single economic entity”). To allege that FICO is a “monopolist” while also alleging

that the three Credit Bureaus possess “substantial market power” is not plausible.


32
         DPP ¶¶ 44, 52-53; IPP ¶¶ 62-63.
33
         DPP ¶¶ 202, 220, 238; IPP ¶¶ 229, 248, 267.


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         B.     Plaintiffs do not plead anticompetitive conduct.

         Even assuming Plaintiffs have plausibly alleged monopoly power, they still fail to state a

monopolization claim. “[T]o safeguard the incentive to innovate, the possession of monopoly

power will not be found unlawful unless it is accompanied by an element of anticompetitive

conduct.” Verizon Comm’cns v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004).

Yet none of the conduct Plaintiffs identify is plausibly anticompetitive.

                1.      The Equifax litigation was not anticompetitive.

         Plaintiffs’ first attempt to show that FICO engaged in anticompetitive conduct challenges

the 2006 Equifax litigation in Minnesota. As explained below, the Court does not need to consider

those allegations because a claim based on decades-old litigation is clearly time-barred.

Nevertheless, even if the Court finds the claim potentially timely, it fails as a matter of law.

                        a.      The Equifax litigation is well outside the statute of limitations.

         Antitrust claims are subject to a four-year statute of limitations, which starts to run “when

a defendant commits an act that injures a plaintiff’s business.” Zenith Radio Corp. v. Hazeltine

Research, Inc., 401 U.S. 321, 338 (1971); 15 U.S.C. § 15b. The only way Plaintiffs claim the

Equifax litigation injured them is by “inhibit[ing]” VantageScore’s growth during the “first few

years” of its existence.34 But the VantageScore litigation concluded in 2011. The limitations period

for a claim based on this alleged conduct thus expired long ago. See Brooks v. Ross, 578 F.3d 574,

579 (7th Cir. 2009) (a court may dismiss claims that are time-barred on the face of the complaint).

         Plaintiffs do not offer any justification for waiting until nine years after the Equifax

litigation concluded to bring a claim that the litigation violated the antitrust laws. Plaintiffs do not

plead that they were unable to discover the Equifax litigation prior to 2018, nor could they. And



34
         DPP ¶ 95; IPP ¶ 110.


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although Plaintiffs plead that they could not have discovered the supposedly anticompetitive terms

in FICO’s license agreements until 2018, those are entirely separate from the 2006 litigation. 35 For

similar reasons, the doctrine of fraudulent concealment—which Plaintiffs cite as a basis for tolling

the statute of limitations on their license agreement-based claims—cannot possibly apply, because

FICO did not “conceal” its public litigation conduct. 36

         Plaintiffs’ assertion that the Equifax litigation was part of a “continuing antitrust violation”

also fails as a matter of law.37 The continuing violation doctrine applies only where a plaintiff

challenges “not just one incident of [unlawful] conduct . . . but an unlawful practice that continues

into the limitations period.” Havens Realty Corp. v. Coleman, 455 U.S. 363, 380-81 (1982).

Plaintiffs do not—and cannot—allege that the Equifax litigation, which ended in 2011, was a

“practice” continuing into the limitations period. See Al George, Inc. v. Envirotech Corp., 939 F.2d

1271, 1275 (5th Cir. 1991) (a claim for anticompetitive litigation accrues when the suit is filed and

does not continue thereafter); P & M Servs., Inc. v. Gubb, 2008 WL 4185903, at *6 (E.D. Mich.

Sept. 8, 2008) (similar). Nor do Plaintiffs allege that the effects of the litigation continued into the

limitations period—and even if they did, the claim would still be untimely. See Kaiser Found. v.

Abbott Labs., 2009 WL 3877513, at *7 (C.D. Cal. Oct. 8, 2009) (“merely charging a monopoly

price” following allegedly anticompetitive litigation does not toll the statute of limitations).




35
          Plaintiffs plead that the agreements were “another approach”—i.e., an alternative pursued after the
2006 litigation ended. DPP ¶ 101; IPP ¶ 118 (emphasis added).
36
          DPP ¶¶ 160-67; IPP ¶ 186. The only alleged hindrance to discovery of this claim that Plaintiffs
identify during the class period are statements in FICO’s Code of Business Conduct and Ethics, which do
not toll the limitations period as a matter of law. Litovich v. Bank of Am. Corp., 2021 WL 4952034, at *28
(S.D.N.Y. Oct. 25, 2021).
37
          DPP ¶ 95; IPP ¶¶ 190-92.


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                        b.      The Equifax litigation cannot be the basis for liability.

        In addition to being untimely, the attempt to characterize FICO’s 2006 lawsuit as

anticompetitive does not state a claim. Under the Noerr-Pennington doctrine, companies generally

have immunity under the antitrust laws when they seek redress against other companies in court.

Prof’l Real Est. Invs., Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 56 (1993) (“PRE”); Cal.

Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972). In light of the important First

Amendment interests in protecting access to courts, a plaintiff may maintain an antitrust claim

based on supposedly anticompetitive litigation only where the plaintiff alleges that the lawsuit was

both (1) objectively baseless and (2) brought for an impermissible subjective purpose—in other

words, that the lawsuit was a “sham.” U.S. Futures Exchange, LLC v. Bd. of Trade of the City of

Chi., 953 F.3d 955, 963 (7th Cir. 2020).

        Plaintiffs do not and cannot allege that the Experian litigation was a sham. In denying

Experian and VantageScore’s motion for attorney’s fees in the 2006 litigation, the Experian court

specifically concluded that FICO’s infringement claims were not “groundless” or “unreasonable.”

FICO v. Experian Info. Sols., Inc., 711 F. Supp. 2d 991, 1011 (D. Minn. 2010). Because a lawsuit

is objectively baseless only if “no reasonable litigant could realistically expect to secure favorable

relief,” PRE, 508 U.S. at 62, the district court’s refusal to award fees disposes of any claim based

on the “sham litigation” exception. See Shuffle Tech Int’l LLC v. Sci. Games Corp., 2017 WL

3838096, at *6 (N.D. Ill. Sept. 1, 2017). Indeed, the fee-shifting standard is less onerous than the

sham-litigation standard, because “[t]he threat of antitrust liability . . . far more significantly chills

the exercise of the right to petition than does the mere shifting of attorney’s fees.” Octane Fitness,

LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 556 (2014).




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         Nor do Plaintiffs make any effort to demonstrate objective baselessness, simply asserting

that FICO’s antitrust claims were “bogus.”38 Cf. GlobalTap LLC v. Smart Tap LLC, 2015 WL

791256, at *7 (N.D. Ill. Feb. 24, 2015) (a “bare assertion” that a lawsuit was “baseless” is not

sufficient). However, the Equifax court found it plausible that the Credit Bureaus had a “dangerous

probability” of monopolization due to their alleged control over aggregated credit data:

        Defendants[’] combined dominance in the aggregated credit data market and control of
        the sales of bundles of aggregated credit data and credit scores could create a dangerous
        probability that Defendants can install VantageScore as a monopoly in the credit scoring
        market if they agree to take anticompetitive measures such as manipulating the prices
        of credit scores and denying Fair Isaac access to aggregated credit data.

FICO v. Equifax Inc., 2008 WL 623120, at *8 (D. Minn. Mar. 4, 2008). In later granting the non-

settling Credit Bureaus’ summary judgment motion, the court merely found that FICO could not

show “that there continues to be a sufficiently impending threat [of monopolization] to warrant a

finding that Fair Isaac has standing to seek injunctive relief”—in part because FICO had settled its

claims with Equifax, ensuring continued access to credit data and distribution channels. FICO v.

Experian Info. Sols., Inc., 645 F. Supp. 2d 734, 754-56 (D. Minn. 2009) (emphasis added).

                2.      The license agreements are not anticompetitive.

         Plaintiffs’ second attempt to show anticompetitive conduct rests on alleged provisions in

FICO’s license agreements. Plaintiffs do not claim that these provisions reflect any “normal

exclusionary practices,” such as price-fixing or tying. Schor v. Abbot Labs., 457 F.3d 608, 610

(7th Cir. 2006). Instead, Plaintiffs allege that these terms are indirectly exclusionary, because they

purportedly restrict the Credit Bureaus from developing or distributing competing scores.

         These arguments fail because a firm has “no duty to deal under terms and conditions” that

rivals “find commercially advantageous.” Pac. Bell Tel. Commc’ns v. linkLine Commc’ns, Inc.,



38
         DPP ¶ 89; IPP ¶ 104.


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555 U.S. 438, 450 (2009). “Even a monopolist,” the Seventh Circuit has explained, “may bargain

hard.” Ball Mem’l Hosp., 784 F.2d at 1339. While many kinds of conduct “may prevent or

discourage a potential competitor from entering a particular market,” the antitrust laws “are

implicated only when that conduct is predatory or unjustifiable.” Mercatus Grp., LLC v. Lake

Forest Hosp., 641 F.3d 834, 854 (7th Cir. 2011). As shown below, Plaintiffs’ allegations do not

come close to meeting that standard.

                        a.      The No Equivalent Products provision.

         Plaintiffs allege that FICO’s license agreements contain a “No Equivalent Products”

provision prohibiting each Credit Bureau—during the period that it acts as FICO’s licensed

distributor—from developing or distributing another credit scoring system that (i) is intentionally

“aligned” to the odds-to-score relationship of any FICO Score or (ii) copies more than 20% of the

reason codes used by any FICO Score.39 But provisions that prevent licensees from copying

FICO’s intellectual property are obviously procompetitive. See ProCD, Inc. v. Zeidenberg, 86 F.3d

1447, 1455 (7th Cir. 1996) (“To the extent licenses facilitate distribution of object code while

concealing the source code . . . , they serve the same procompetitive functions as does the law of

trade secrets.”). “Nothing in the antitrust laws gives one producer a right to sponge off another’s

intellectual property, even when the producer of that knowledge” has substantial market share.

IDX Sys. Corp. v. Epic Sys. Corp., 285 F.3d 581, 585 (7th Cir. 2002); accord Novell, Inc. v.

Microsoft Corp., 731 F.3d 1064, 1074 (10th Cir. 2013) (“Even a monopolist generally has no duty

to share . . . its intellectual or physical property with a rival.”); Nat’l Flood Servs., Inc. v. Torrent

Techs., Inc., 2006 WL 1518886, at *10 (W.D. Wash. May 26, 2006) (dismissing monopolization




39
         DPP ¶¶ 109-11; IPP ¶¶ 126-28.


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counterclaim). Such concerns are especially apparent here because the Credit Bureaus both have

access to FICO’s most sensitive intellectual property and jointly own and distribute VantageScore.

         Plaintiffs characterize the odds-to-score relationship as merely an “arbitrary assignment of

a number (score) to a related risk probability” rather than “the analysis and the process used to

predict a consumer’s risk of default.”40 Yet Plaintiffs’ own complaints cite a VantageScore

whitepaper explaining that the odds-to-score relationship of a scoring model “is not absolute” and

“changes over time” as economic conditions evolve.41 Therefore, maintaining an aligned odds-to-

score relationship between a FICO Score model and a competing scoring model would require

either (i) reverse-engineering FICO’s algorithm to replicate how it responds to changing economic

conditions, or (ii) the ability to generate FICO Scores from a large consumer population over

time—which the Credit Bureaus enjoy as FICO’s licensed distributors—so that the FICO Score’s

odds-to-score relationship could be continually replicated as economic conditions change.

         Plaintiffs’ assertions that reason codes merely reflect generic statements of factors that

determine a consumer’s creditworthiness 42 are similarly incorrect. Reason codes are tailored to

capture unique aspects of a scoring model and reflect creative choices about what phrasing will be

most informative or palatable to consumers. Indeed, Plaintiffs allege that VantageScore markets

its “simplified reason codes” as a point of competitive differentiation from other credit scores,

such as FICO Scores.43 That reason codes allegedly include more mundane information as well


40
          IPP ¶ 132; DPP ¶ 113.
41
          VantageScore Solutions, FDIC New Definition of High Risk Consumer Loan Securities 2 (July
2013),        https://vantagescore.com/pdfs/VantageScore_New_Definition_of_High_Risk_whitepaper-05-
2015.pdf (cited at DPP n. 69 & IPP n. 63); see also VantageScore Solutions, The Dynamic Relationship
Between a Credit Score and Risk 3-5 (May 2020), https://vantagescore.com/pdfs/Credit-Scores-and-Risk-
Relationship-WP-FINAL_2020-10-29-021228.pdf (“[A] credit score does not predict the absolute level of
risk; it is not designed to do that. At any point in time, the score can be translated into an estimate of risk,
based on the various factors impacting risk levels, but this relationship changes meaningfully over time.”).
42
          DPP ¶ 113; IPP ¶ 133.
43
          DPP ¶¶ 36-37, 104; IPP ¶¶ 37-38, 121.


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does not negate their status as intellectual property. See Am. Dental Ass’n v. Delta Dental Plans

Ass’n, 126 F.3d 977, 978-79 (7th Cir. 1997) (taxonomy of dental procedures, classified into groups

with a number and short and long descriptions, was copyrightable expression of creativity).

         Nor do Plaintiffs offer any plausible assertions that the No Equivalent Products provision

“effectively prevents” Credit Bureaus from offering a “legitimate choice” between FICO Scores

and other credit scores.44 No Plaintiff even alleges that it ever wished to use a credit score other

than a FICO Score, much less that it was unable to do so because the odds-to-score relationship or

reason codes were not the same. Plaintiffs also do not allege that any existing VantageScore is

covered by the No Equivalent Products provision—nor could they. The Credit Bureaus continue

to offer VantageScore credit scores in direct competition with FICO Scores.

         These omissions are especially notable given VantageScore’s public declarations on the

subject. In 2016, VantageScore disclosed that it delivered 6 billion credit scores. 45 In 2018,

VantageScore reported that its scores were “used more than 8.5 billion times by more than 2,200

lenders” during a twelve-month period.46 And in 2019, a VantageScore press release indicated that

VantageScore’s market penetration had grown even more. VantageScore reported that businesses

used its score 12.3 billion times (an approximately 20% annual growth rate since 2015) and that 9

of the 10 largest banks and 29 of the 100 largest credit unions used VantageScore credit scores in

one or more business lines; its CEO declared that “[t]he continued surge in usage of VantageScore

credit scores is a testament to an increasingly competitive marketplace for credit scores.” 47 In sum,



44
         DPP ¶ 112; see also IPP ¶ 128 (claiming that the clause “prevents the use of VantageScore or other
credit scoring systems alongside . . . FICO Scores” without incurring switching costs).
45
         VantageScore Solutions, Milestones, supra n. 19.
46
         VantageScore Solutions, Mortgage Market, supra n. 30, at 9; see also DPP ¶ 83; IPP ¶ 98.
47
         VantageScore Solutions, VantageScore Solutions Announces Score Use Grows to More than 12
Billion (Oct. 29, 2019), https://vantagescore.com/press/vantagescore-solutions-announces-score-use-
grows-to-more-than-12-billion.


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since FICO signed the last of the license agreements with the Credit Bureaus, VantageScore’s

output of credit scores to business users appears to have doubled—directly contrary to Plaintiffs’

conclusory allegations that the No Equivalent Products provision has had exclusionary effects.

                        b.      The Dynamic Royalty Schedule.

         Plaintiffs next allege that the license agreements contain a “Dynamic Royalty Schedule,”

which allows FICO to provide a new royalty schedule to a Credit Bureau every 12 months during

the term of the contract. However, Plaintiffs complain about only one royalty category, “Pre-

Qualification,” allegedly introduced in 2015. This category covers FICO Scores generated to help

lenders decide whether to offer consumers “pre-qualified” extensions of credit. For example,

consumers may receive an online offer from a prospective lender informing them that they are pre-

qualified for a credit card with a $10,000 line of credit. In some cases, the lender may also disclose

a credit score to the consumer for educational purposes.

         Allegedly, FICO’s Pre-Qualification category charges a higher royalty rate if the lender

uses a FICO Score to evaluate the consumer’s creditworthiness but then displays a non-FICO

credit score to the consumer with the solicitation.48 Plaintiffs claim that there is “no legitimate

business justification” for this approach and that the only purpose of the category “is to drive all

B2B Purchasers engaging in ‘Pre-Qualification’ to purchase exclusively FICO Scores.” 49 But

FICO’s legitimate interest is obvious. A consumer who receives a non-FICO credit score may

conclude (incorrectly) that the score disclosed to him or her was also used as the basis for the pre-

qualification decision. The Consumer Financial Protection Bureau has long recognized that this is

a significant problem within the industry, as consumers may be easily confused about whether a


48
         DPP ¶¶ 118-119; IPP ¶¶ 139-40. These paragraphs state that FICO “charges the lender” the higher
rate for the FICO Score. That is incorrect. As the complaints acknowledge, the higher rate is contained in
the royalty schedule that sets charges paid by the Credit Bureaus. DPP ¶ 116; IPP ¶ 136.
49
         DPP ¶ 122; IPP ¶ 143.


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credit score they obtain is the same score used to make lending decisions. 50 Further, nothing in

FICO’s license agreements allegedly limits the distribution or use of a non-FICO score for both

the pre-qualification and consumer disclosure. In that circumstance, the Credit Bureaus pay no

royalty to FICO at all.

         FICO has every right to discourage practices that may cause confusion in the marketplace,

and to receive fair compensation for contributing to another credit score’s brand equity (as would

follow from disclosing a non-FICO credit score to a consumer along with a pre-qualified credit

offer generated using a FICO Score). Monopolists “are just as entitled as other firms to choose

efficient methods of doing business.” Goldwasser, 222 F.3d at 397-98. Plaintiffs may believe that

the Credit Bureaus should have negotiated different contract terms for this royalty category. But

that is irrelevant to a Section 2 claim, since “antitrust law is not a negotiating tool” for “better

contract terms,” even “where a business carries a significant portion of the market share.” CBC

Companies, Inc. v. Equifax, Inc., 561 F.3d 569, 571-73 (6th Cir. 2009).

                          c.    The Level Playing Field provision.

         Lastly, Plaintiffs point to the “Level Playing Field” provisions, which allegedly provide

that no Credit Bureau shall pay a royalty that is higher than the price paid by another Credit Bureau.

Importantly, Plaintiffs do not claim that these provisions were themselves used to acquire or

maintain supposed monopoly power. Rather, they portray the provisions as a concession to the

Credit Bureaus in exchange for agreement to the No Equivalent Products provision and Dynamic

Royalty Schedule discussed above.51



50
        Consumer Financial Protection Bureau, The Impact of Differences Between Consumer- and
Creditor-Purchased Credit Scores 1-2 (2011) (cited at DPP n.17 & IPP n.16) (“[c]onsumers obtaining
educational scores may be confused about the usefulness of the score being sold if sellers of scores do not
make it clear to consumers . . . that it is not the score the lender is likely to use”).
51
        DPP ¶¶ 102, 109, 116, 124-127; IPP ¶¶ 147-153.


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         Indeed, Plaintiffs cannot plausibly allege that the Level Playing Field provisions were

anticompetitive. Plaintiffs analogize the provisions to most-favored nation clauses, which are

“standard devices by which buyers try to bargain for low prices, by getting the seller to agree to

treat them as favorably as any of their other customers.” Blue Cross & Blue Shield United of Wis.

v. Marshfield Clinic, 65 F.3d 1406, 1415 (7th Cir. 1995). “[T]hat is the sort of conduct that the

antitrust laws seek to encourage.” Id. As the First Circuit has explained, “a policy of insisting on

a supplier’s lowest price—assuming that the price is not ‘predatory’ or below the supplier’s

incremental cost—tends to further competition on the merits and, as a matter of law, is not

exclusionary.” Ocean State, 883 F.2d at 1110.

         At best, Plaintiffs allege that it is theoretically possible that a clause guaranteeing low

prices might have anticompetitive effects, by preventing a supplier from offering lower prices to a

hypothetical new entrant, weakening incentives for purchasers to negotiate, or making it harder

for downstream purchasers to negotiate their own discounts. 52 But these effects are entirely

speculative. Plaintiffs do not allege that there were any new entrants during this period, much less

that the Level Playing Field provision actually inhibited entry. Nor do Plaintiffs allege any facts

about the Credit Bureaus’ negotiations with FICO, or about credit score purchasers’ negotiations

with the Credit Bureaus, before or after the agreements. Even with the Level Playing Field

provision, moreover, each Credit Bureau continues to have the incentive to negotiate for lower

royalty rates. A lower royalty rate always benefits a Credit Bureau directly, even if other Credit

Bureaus might also benefit from paying a lower price. 53




52
        DPP ¶¶ 125-126; IPP ¶¶ 146-47.
53
        Plaintiffs’ argument that the provision weakens FICO’s incentive to permit discounts is also
contradicted by their own theory, which is that the Credit Bureaus sought out that provision during
negotiations. See DPP ¶ 124; IPP ¶ 145.


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         Plaintiffs cannot obtain discovery just because “it is impossible to say that a given practice

‘never’ could injure consumers.” Schor, 457 F.3d at 612. “Subjecting all low prices to litigation,

and the inevitable risk of error in a search for the rare instances in which consumers could be made

worse off in the long run by low prices today, would make it more risky for firms to reduce prices,

and they would be less inclined to do so—to consumers’ considerable detriment.” Id. at 613.

                3.       The alleged disparagement is not anticompetitive.

         Plaintiffs’ final attempt to plead a monopolization claim rests on allegations that FICO

engaged in an “aggressive public relations” campaign against VantageScore, which Plaintiffs

claim has harmed VantageScore’s standing. 54 But such a claim is contrary to the very purposes of

antitrust law. See Arnett Physician Grp., PC v. Greater LaFayette Health Servs., Inc., 382 F. Supp.

2d 1092, 1096 (N.D. Ind. July 29, 2005) (“Public expressions of opinion about competitors’ plans

cannot provide the basis for an antitrust claim and such conduct is clearly lawful.”). 55

         “What producers say about each others’ goods in an effort to sway consumers is

competition in action. Some other law may require judicial intervention in order to increase the

portion of truth in advertising; the Sherman Act does not.” Sanderson v. Culligan Int’l Co., 415

F.3d 620, 624 (7th Cir. 2005). “[G]enuine anticompetitive effects of false and misleading

statements about a competitor are minimal, at best.” Mercatus Grp., 641 F.3d at 852. Accordingly,

the Seventh Circuit has said that courts should exercise “caution” in evaluating “isolated examples

of disparagement,” and “claims based on one competitor’s disparagement of another should




54
        DPP ¶¶ 131-40; IPP ¶¶ 154-61.
55
        See also, e.g., United States Bd. of Oral Implantology v. Am. Bd. of Dental Specialties, 390 F. Supp.
3d 892, 909 (N.D. Ill. 2019) (dismissing Section 2 claim); Re/Max Int’l v. Realty One, 900 F. Supp. 132,
159 (N.D. Ohio 1995) (“allegations of business disparagement are not the type of injuries to competition
that the antitrust laws were designed to prevent”); Asa Accugrade, Inc. v. Am. Numismatic Ass’n, 370
F.Supp.2d 213, 215 (D.D.C.2005) (similar).


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presumptively be ignored.” Id. (internal quotations omitted).

         Plaintiffs provide no reason to depart from these principles. For example, Plaintiffs

principally object to statements by FICO and others that VantageScores are not FICO Scores.

These statements are accurate and appropriate given the likelihood of confusion over the existence

of different credit scores and distinctions between them. 56 Likewise, Plaintiffs cite FICO blog posts

about FICO’s minimum scoring criteria, which report on research concerning the minimum

amount of credit data needed to generate a reliable FICO Score. These statements do not mention

VantageScore and thus do not support claims that FICO campaigned to disparage its competitor. 57

         Regardless, if a defendant’s public statements are allegedly “false or misleading or

incomplete or just plain mistaken, the remedy is not antitrust litigation but more speech—the

marketplace of ideas.” Schachar v. Am. Acad. of Opthalmology, Inc., 870 F.2d 397, 400 (7th Cir.

1989). The complaints themselves acknowledge the robust debate in the marketplace. For instance,

the article Plaintiffs cite as the basis for their disparagement claim quotes statements by

VantageScore and TransUnion that “[t]housands of lenders use VantageScore credit scores in their

businesses,” and that VantageScore was “used by more than 2,400 lenders” and “yields the most

consistent results.”58

         Elsewhere, Plaintiffs rely on blog posts and reports from 2018 and 2019 touting supposed

advantages of VantageScore and noting that “many of the most sophisticated secondary market

participants use the VantageScore model to help evaluate and monitor risk.” 59 And to the extent


56
         DPP ¶ 132-33; IPP ¶ 160. See supra pp. 20-21 & n.50; see also Consumer Financial Protection
Bureau, The Impact of Differences Between Consumer- and Creditor-Purchased Credit Scores 15 (2011)
(cited at DPP n.17 & IPP n.16) (discussing potential for harm to consumers when “[a] consumer, unaware
of the variety of credit scores available in the marketplace, may purchase a score believing it to be his or
her ‘true’ (or only) credit score, when in fact there is no such single score.”).
57
         DPP ¶ 137; IPP ¶ 157.
58
         Gray, Credit score row, supra n. 30 (cited at DPP n.86).
59
         DPP ¶¶ 74-84; VantageScore Solutions, Mortgage Market, supra n. 30, at 8.


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VantageScore believes that it is possible to accurately score additional consumers using its own

models, VantageScore is free to (and does) make that argument to the market. 60

         Lastly, Plaintiffs attack alleged statements by FICO in connection with the FHFA’s

consideration of rule changes to permit the use of non-FICO credit scores in connection with

mortgage loans underwritten by Fannie Mae and Freddie Mac. Plaintiffs complain that Fair Isaac

“fought hard” against changes to these rules, including by stating that FICO was “not owned by

the credit bureaus;” that FICO believed its score was superior to other scores; and that FICO is not

a “monopolist.”61 These allegations do not plausibly show that FICO “disparaged” VantageScore

either. “A publicity campaign directed at the general public, seeking legislation or executive

action, enjoys antitrust immunity.” Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S.

492, 499-500 (1988). That is true “even when the campaign employs unethical and deceptive

methods” (id.)—and Plaintiffs here allege nothing of the sort. Plaintiffs even admit that the FHFA

decided to allow VantageScore to submit its models for validation and potential approval. 62

FICO’s statements regarding the rulemaking cannot possibly have harmed competition if the

agency ultimately decided to consider the use of competing credit scores.

II.      Plaintiffs’ Other Federal Claims Also Fail.

         In addition to their failed monopolization claim, Plaintiffs try to portray FICO’s license

agreements with the Credit Bureaus as one or more “conspiracies” to restrain competition. Claim 1

alleges a conspiracy by all Defendants in violation of Section 1 of the Sherman Act, 15 U.S.C.

§ 1.63 Claim 6 alleges a Section 2 conspiracy to monopolize by all Defendants. Finally, Claims 2


60
        DPP ¶¶ 74, 137; IPP ¶¶ 90, 157.
61
        DPP ¶¶ 134-35, 139; IPP ¶¶ 159-60.
62
        DPP ¶ 139; IPP ¶ 159.
63
        Claims 1 through 4 also invoke Section 3 of the Sherman Act, which applies Section 1’s rule to DC
and the territories, and thus is analyzed “in the same manner as Section 1 claims.” Spinelli v. Nat'l Football
League, 96 F. Supp. 3d 81, 106 n.10 (S.D.N.Y. 2015).


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through 4 allege Section 1 violations by FICO and each of the Credit Bureaus individually. Yet

Plaintiffs’ claims look no better when recast under these alternative theories.

         A.     Plaintiffs do not plead a horizontal Section 1 claim.

         Claims 1 and 6 plead a conspiracy between FICO and all of the Credit Bureaus to crush

VantageScore.64 The allegation that FICO wished to “crush” VantageScore is insubstantial for the

reasons already discussed. See supra p. 10. But in any event, it is not plausible that the Credit

Bureaus had the intent to destroy their own joint venture, and if the Credit Bureaus and FICO did

not share the same allegedly unlawful intent, then there can be no conspiracy as a matter of law.

                1.      The alleged conspiracy is irrational.

         To plead a conspiracy, Plaintiffs must allege that the members of the conspiracy shared “a

conscious commitment to a common scheme designed to achieve an unlawful objective.” Marion

Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d 832, 841 (7th Cir. 2020). There is no

plausible reason why the Credit Bureaus would conspire to “cut[] their own joint venture off at the

knees,” especially after prevailing in litigation against FICO and when VantageScore was making

strides in the market.65 To the contrary, allegations that a defendant in effect conspired to injure

itself are “inherently implausible.” Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1109 (7th

Cir. 1984). If the Credit Bureaus had no plausible motive to participate in the alleged “conspiracy,”

the conspiracy falls apart as to FICO as well.

         In Car Carriers, the plaintiffs alleged that Ford Motor Company conspired to exclude its

existing car carrier and allow a different carrier to charge supracompetitive prices. The Seventh

Circuit affirmed dismissal, noting that “the plaintiffs are alleging, in essence, that Ford conspired

to injure itself.” Id. Likewise, in Stamatakis Industries, Inc. v. King, the Seventh Circuit warned


64
         DPP ¶¶ 100, 102; IPP ¶¶ 118-19.
65
         DPP ¶¶ 102-04; IPP ¶¶ 119-21.


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that “[a] theory of liability” that accuses defendants of “irrational[ly]” agreeing to injure

themselves “does not get very far.” 965 F.2d 469, 471-72 (7th Cir. 1992); see also, e.g., TV

Commc’ns Network, Inc. v. Turner Network Television, Inc., 964 F.2d 1022, 1026-27 (10th Cir.

1992) (it is “implausible” that defendants would conspire with TNT in its efforts to maintain a

monopoly in the market for the TNT channel because “achievement of the goal of the conspiracy

would actually be contrary to the interests of the cable operators”). In short, a claim that “basically

avers” that a defendant “was conspiring against itself by helping [a third party] monopolize a

market in which [it] was a customer, not a producer,” “stretches common sense to its breaking

point.” Leopoldo Fontanillas, Inc. v. Luis Ayala Colon Sucesores, Inc., 283 F. Supp. 2d 579, 589-

90 (D.P.R. 2003).66

         The same is true of the Section 2 claim, which requires Plaintiffs to allege that the supposed

conspirators shared a specific intent to create or maintain a monopoly. Great Escape, Inc. v. Union

City Body Co., Inc., 791 F.2d 532, 540 (7th Cir. 1986); VBR Tours, LLC v. Nat'l R.R. Passenger

Corp., 2015 WL 5693735, at *6 (N.D. Ill. Sept. 28, 2015). Plaintiffs offer no plausible reason why

the Credit Bureaus would act with the specific purpose of destroying their own joint venture and

giving FICO a monopoly—and without such allegations of shared intent, a conspiracy to

monopolize claim fails.

                 2.       Plaintiffs do not plead a “rim” to the conspiracy.

         Claims 1 and 6 independently fail because Plaintiffs have not pled the requisites for a “hub-


66
         See also, e.g., RxUSA Wholesale, Inc. v. Alcon Labs., Inc., 661 F. Supp. 2d 218, 241 (E.D.N.Y.
2009) (“it would be implausible to suggest that the other PWDs would conspire to create a monopoly for
McKesson only, thereby driving themselves out of business”), aff’d, 391 F. App’x 59 (2d Cir. 2010);
Lifeline Ltd. No. II v. Conn. Gen. Life Ins. Co., 821 F. Supp. 1201, 1205 (E.D. Mich. 1993) (where “[t]he
conspiracy that plaintiff alleges makes no economic sense,” a plaintiff “must come forward with more
persuasive evidence”); Genetic Sys. Corp. v. Abbott Labs., 691 F. Supp. 407, 422 (D.D.C. 1988) (“that a
purchaser such as the Red Cross would conspire with a supplier such as Abbott to facilitate the supplier’s
monopolization of the market . . . is sufficiently implausible to limit any inference of an antitrust violation”).


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and-spoke” conspiracy. To plead such a conspiracy, a plaintiff must allege that (1) “there was a

central coordinating party (the ‘hub’),” and (2) “each participant (along the ‘rim’) recognized that

it was part of the greater arrangement, and it coordinated or otherwise carried out its duties as part

of the broader group.” Marion Healthcare, 952 F.3d at 842. In other words, a plaintiff must

plausibly allege a “rim” that connects the individual “spokes.” Id.; see also In re Keurig Green

Mountain Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 242-43 (S.D.N.Y. 2019) (a

“hub-and-spokes” conspiracy requires “both vertical agreements between the hub and each spoke,

and also a horizontal agreement among the various spokes with each other”). Plaintiffs offer no

factual allegations that “similarly situated members of the conspiracy coordinated not only with

the manufacturer” (i.e., FICO) “but also with each other.” Marion Healthcare, 952 F.3d at 842.

         The complaints allege that the Credit Bureaus’ “frequent business dealings” with each

other and with FICO gave them “opportunities” to “communicate, coordinate behavior, and

engage in other actions pursuant to their conspiracy.” 67 But it is well-established that “having the

opportunity to conspire does not necessarily imply that wrongdoing occurred.” Kleen Prods. LLC

v. Georgia-Pacific LLC, 910 F.3d 927, 938 (7th Cir. 2018). In particular, “allegations that

defendants were members of the same trade organizations are unspectacular and fail to move the

needle” in pleading conspiracy. Wash. Cnty. Health Care Auth., Inc. v. Baxter Int'l Inc., 328 F.

Supp. 3d 824, 843 (N.D. Ill. 2018). 68

         Nor do allegations that, during negotiations over a new license agreement, FICO

“represented” to TransUnion that Experian and Equifax had agreed to similar terms in prior years




67
         DPP ¶ 103; IPP ¶ 120 (emphasis added).
68
         See also In re Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1192 (9th Cir. 2015);
Moore v. Boating Indus. Ass’ns, 819 F.2d 693, 712 (7th Cir. 1987); In re Pool Prods. Distrib. Mkt. Antitrust
Litig., 988 F. Supp. 2d 696, 722 (E.D. La. 2013).


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plausibly allege a “rim” to the conspiracy.69 These allegations actually undercut Plaintiffs’ desired

inference. A conspiracy is not plausible where the complaint alleges that “defendants adopted the

policies over a period of several years, not simultaneously.” Musical Instruments, 798 F.3d at

1196; see also Mayor and City Council of Baltimore v. Citigroup, Inc., 709 F.3d 129, 139 (2d Cir.

2013) (“[I]f, for example, Merrill Lynch and Lehman were talking, the former would not have had

to rely on third parties to confirm the latter’s strategy.”).

         Finally, Plaintiffs’ suggestion that the Level Playing Field provision provides the necessary

impetus for agreement is also unavailing. Plaintiffs allege obvious reasons why each Credit Bureau

would independently seek a “Level Playing Field” in its license agreements with FICO: the

provision guaranteed that the Credit Bureau would pay the lowest royalty FICO offered to the

market.70 Each Credit Bureau had a clear motive for seeking such a provision in its own license

agreement, whether or not the other Credit Bureaus agreed to license agreements with similar

provisions. As noted above, these types of clauses are “standard devices by which buyers try to

bargain for low prices, by getting the seller to agree to treat them as favorably as any of their other

customers.” Marshfield Clinic, 65 F.3d at 1415.

         Courts frequently reject allegations of horizontal agreement where, as here, the complaint

itself “provides ample independent business reasons” why the “spokes” would each reach similar

agreements with a “common, important customer” even absent a horizontal agreement. Musical




69
        DPP ¶¶ 106-07 ; IPP ¶¶ 123-24. See PSKS, Inc. v. Leegin Creative Leather Prods., Inc., 615 F.3d
412, 420 (5th Cir. 2010) (“A manufacturer’s discussion of pricing policy with retailers and its subsequent
decision to adjust pricing to enhance its competitive position do not create an antitrust violation or give rise
to an antitrust claim.”); In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 330-31 (3d Cir. 2010)
(no “inference of horizontal conspiracy arise[s] from the fact that each distributor knows which of its
competitors have purchased the remaining portions of the manufacturer's product, as well as the specific
terms of the other deals”); PepsiCo. v. Coca-Cola Co., 315 F.3d 101, 110 (2d Cir. 2002) (assurances that
“hub” would enforce similar agreements with other “spokes” insufficient to show horizontal agreement).
70
        DPP ¶ 126 ; IPP ¶ 147.


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Instruments, 798 F.3d at 1195. In particular, as the Seventh Circuit held in Marion Healthcare,

allegations that multiple distributors agreed to allegedly “anticompetitive contractual terms” do

not “suffice to describe a hub-and-spokes conspiracy.” 952 F.3d at 842-43; see also Marion

Diagnostic Ctr., LLC v. Becton, Dickinson & Co., 2021 WL 961728, at *4 (S.D. Ill. Mar. 15, 2021)

(on remand, holding that “commonplace” features of a distribution relationship “do not indicate a

quid pro quo for participation in an anticompetitive scheme”). 71

         B.     Plaintiffs do not plead a vertical Section 1 claim.

         Tacitly conceding that their allegations of a conspiracy among all Defendants are

implausible, in Claims 2 to 4 Plaintiffs purport to challenge each of the three license agreements

as independently unreasonable restraints on competition. Plaintiffs assert that these agreements are

illegal per se and under the rule of reason. These claims fail on several independent grounds.

                1.      The per se standard does not apply.

         To determine whether a contract or combination is unlawful, courts “presumptively” apply

the rule of reason. Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006). That is particularly true for vertical

agreements, like the license agreements between FICO and the Credit Bureaus as downstream

suppliers of credit scores. See Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018) (“nearly

every” vertical restraint “should be assessed under the rule of reason”). 72 Per se rules are

appropriate only where a challenged practice “always or almost always” restricts competition and

decreases output. Broad. Music, Inc. v. CBS, 441 U.S. 1, 19-20 (1979). None of the provisions at


71
         Accord, e.g., Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 255 (3d Cir.
2010) (“simply because each Dealer, on its own, might have been economically motivated” to agree to a
manufacturer’s terms “does not give rise to a plausible inference of an agreement among the Dealers
themselves”); In re Travel Agent Comm’n Antitrust Litig., 583 F.3d 896, 903-05, 908, 910 (6th Cir. 2009)
(dismissing complaint where the alleged conduct “was not only compatible with, but indeed was more
likely explained by, lawful, unchoreographed free-market behavior”).
72
         See also Always Towing & Recovery, Inc. v. City of Milwaukee, 2 F.4th 695, 705 (7th Cir. 2021);
Deslandes v. McDonald’s USA, LLC, 2021 WL 3187668, at *10 (N.D. Ill. July 28, 2021).


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issue here plausibly fit that mold. In addition, the provisions are part of a broader agreement

facilitating the production and distribution of FICO Scores. So-called “ancillary” restraints—those

that are “part of a larger endeavor whose success they promote”—must be evaluated under the rule

of reason. Polk Bros., Inc. v. Forest City Enters., Inc., 776 F.2d 185, 188-89 (7th Cir. 1985).73

         Ignoring this authority, Plaintiffs declare that FICO’s license agreements are per se illegal

because FICO allegedly engaged in limited direct sales of FICO Scores to end-users and in that

respect is the Credit Bureaus’ “horizontal competitor.”74 That is entirely immaterial. Even if a

relationship between two entities has some horizontal components, where (as here) the character

of the challenged agreement is predominantly vertical, the rule of reason applies. In fact, the

Seventh Circuit has squarely held that where an agreement “involve[s] a transfer of intellectual

property rights” to a dealer in exchange for an “agree[ment]” to restrict the dealer’s operations, the

agreement is “a vertical one” even if “in some ways the companies may have operated in similar

lines of business.” Generac Corp. v. Caterpillar Inc., 172 F.3d 971, 977 (7th Cir. 1999).75

                2.      Plaintiffs fail to state a claim under the rule of reason.

         Plaintiffs cannot state a claim under the rule of reason. To do so, Plaintiffs must allege, “at

a minimum,” that one or more of the agreements they challenge have “an anticompetitive, welfare-

reducing effect that is not overcome by any pro-competitive, welfare-enhancing consequences of

the agreement.” Generac, 172 F.3d at 977. But license agreements, which allow the holders of




73
         See also In re Sulfuric Acid Antitrust Litig., 703 F.3d 1004, 1010-12 (7th Cir. 2012); Deslandes,
2021 WL 3187668, at *6 (“Because the restraint alleged in plaintiff's complaint is ancillary to an agreement
with a procompetitive effect, the restraint alleged in plaintiff's complaint cannot be deemed unlawful per
se.”); N. Jackson Pharmacy, Inc. v. Caremark RX, Inc., 385 F. Supp. 2d 740, 748 (N.D. Ill. 2005) (same).
74
         DPP ¶¶ 188, 206, 224; IPP ¶¶ 227, 246, 265.
75
         See also AT&T Corp. v. JMC Telecom, LLC, 470 F.3d 525, 531 (3d Cir. 2006) (“Vertical restraints
are generally not per se violations of the Sherman Act, even where a distributor and manufacturer also
compete at the distribution level.”); Elecs. Commc’ns Corp. v. Toshiba Am. Consumer Prods., Inc., 129
F.3d 240, 243-44 (2d Cir. 1997) (same).


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intellectual property to combine their know-how with complementary factors of production and

distribution, are quintessentially procompetitive. Such integration “can lead to more efficient

exploitation of the intellectual property,” and various restrictions and limitations on such licensing

often “serve procompetitive ends by allowing the licensor to exploit its property as efficiently and

effectively as possible.” U.S. Dep’t of Justice & Fed. Trade Comm’n, Antitrust Guidelines for the

Licensing of Intellectual Property § 2.3 (2017).

         Plaintiffs allege that FICO’s license agreements are anticompetitive because FICO “has

been able to exclude VantageScore from competing for customers in the B2B Credit Score

Market.”76 But as in Generac, “[w]hat stands out prominently” from the challenged agreements in

this case is that each “involved a transfer of intellectual property rights.” 172 F.3d at 977. The

Seventh Circuit dismissed the rule of reason claim in Generac because the agreement between the

plaintiff and the defendant was “a vertical agreement in which both parties restricted their actions

somewhat in the interest of more efficient promotion of the covered products and better sales.” Id.

at 978. That describes the alleged agreements between FICO and the Credit Bureaus as well.

         As explained above, the No Equivalent Products provision addresses the development or

distribution of models that copy distinctive aspects of FICO’s model. “Firms that take advantage

of costly efforts without paying for them . . . reduce the payoff that the firms making the investment

receive” and make “investments in design and distribution of products less attractive, to the

ultimate detriment of consumers.” Chi. Pro. Sports Ltd. P’ship v. NBA, 961 F.2d 667, 674-75 (7th

Cir. 1992); see also IDX Sys. Corp., 285 F.3d at 585. In addition, by prohibiting the Credit Bureaus

from developing or distributing other credit scores that copy the two most outwardly distinctive




76
         DPP ¶ 12; see also IPP ¶¶ 220, 239, 258 (VantageScore “effectively excluded” from the market).


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aspects of FICO Scores—their odds-to-score relationship and reason codes—the agreements

protect against further confusion in the marketplace. See supra pp. 17-19, 20-21.

         The Dynamic Royalty Schedule and Pre-Qualification category similarly serve the

procompetitive purposes of avoiding confusion and compensating FICO for contribution to

another provider’s brand equity. See supra pp. 20-21; Microsoft Corp. v. Computer Support Servs.

of Carolina, Inc., 123 F. Supp. 2d 945, 951 (W.D.N.C. 2000) (“Microsoft clearly has the right to

determine who can or cannot reproduce its software . . . and the right to determine the fees it will

charge its own licensees.”). And the alleged Level Playing Field provision is akin to standard

procompetitive provisions in many contracts, whose potential anticompetitive effects are purely

hypothetical. See supra pp. 21-23; Brown v. Visa U.S.A., Inc., 674 F. Supp. 249, 252 (N.D. Ill.

1987) (“a hypothetical anticompetitive effect [is] not enough to sustain this complaint.”).

         Plaintiffs’ failure to allege a plausible Section 1 claim is confirmed by the fact that

VantageScore continues to do business to this day. To state an exclusive-dealing claim, a plaintiff

must show that the exclusivity term “is likely to keep at least one significant competitor of the

defendant from doing business in a relevant market.” Roland Mach. Co. v. Dresser Indus., Inc.,

749 F.2d 380, 394 (7th Cir. 1984). “If there is no exclusion of a significant competitor, the

agreement cannot possibly harm competition.” Id. That is even more straightforward here, where

FICO’s license agreements with the Credit Bureaus contain no explicit exclusivity provisions and

VantageScore trumpets an increasingly competitive landscape in the market. See supra pp. 19-

20.77


77
          See In re Dealer Mgmt. Sys. Antitrust Litig., 360 F. Supp. 3d 788, 799-800 (N.D. Ill. 2019)
(dismissing claim where challenged provision had “no exclusivity”); E-One, Inc. v. Oshkosh Truck Corp.,
2006 WL 3320441, at *3 n.3 (N.D. Ill. Nov. 13, 2006) (dismissing exclusive dealing claim where “plaintiff
is still a market participant”); cf. Seagood Trading Corp. v. Jerrico, Inc., 924 F.2d 1555, 1573 (11th Cir.
1991) (rejecting Section 1 claim where the plaintiffs “were simply inhibited from competing in one way
with LJS; they were forced to offer packages different from LJS’ to try to compete.”)


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III.            Plaintiffs Do Not Plead Anticompetitive Effects.

         All of Plaintiffs’ causes of action independently fail because Plaintiffs have not plausibly

pled that FICO’s conduct has caused anticompetitive effects—an element of each of their claims.

Havoco of Am., Ltd. v. Shell Oil Co., 626 F.2d 549, 554 (7th Cir. 1980) (“the absence of a sufficient

allegation of anticompetitive effects in a Sherman Act complaint is fatal to the existence of the

cause of action”); see also Ind. Grocery, 864 F.2d at 1419; Vincent v. Utah Plastic Surgery Soc’y,

621 F. App’x 546, 548 (10th Cir. 2015); Dickson v. Microsoft Corp., 309 F.3d 193, 211 (4th Cir.

2002). Plaintiffs’ allegations on this point are threadbare. “Speculation about anticompetitive

effects is not enough.” Marucci Sports, LLC. v. NCAA, 751 F.3d 368, 376 (5th Cir. 2014)

         First, Plaintiffs allege that FICO’s conduct has had anticompetitive effects by

“eliminat[ing]” the Credit Bureaus’ ability to sell other credit scores. 78 That is not plausible.

VantageScore has long trumpeted explosive year-over-year growth, including since the last license

agreement was executed in 2015. See supra pp. 19 & n.47 (VantageScore press release stating that

“[s]ince June of 2015, VantageScore usage has grown approximately 20% per year”). Moreover,

no Plaintiff alleges that they were unable to obtain VantageScores or other scores from the Credit

Bureaus—or even that Plaintiffs tried to obtain such scores. Cf. O.K. Sand & Gravel, Inc. v. Martin

Marietta Techs., Inc., 36 F.3d 565, 573 (7th Cir. 1994) (“boycott” allegations were “frivolous”

when plaintiff “never attempted to purchase O.K. Sand’s products at the retail price”).

         Second, Plaintiffs allege that FICO has harmed competition by charging “monopoly

rent[s].”79 But “[c]laiming that prices are supra-competitive is a legal conclusion rather than a fact

. . . and must be supported by specific factual allegations.” Bio-Rad Labs., Inc. v. 10X Genomics,

Inc., 483 F. Supp. 3d 38, 59 (D. Mass. 2020). Plaintiffs offer no such allegations here.


78
         DPP ¶ 141; IPP ¶ 162.
79
         DPP ¶ 142; IPP ¶ 163.


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         The only allegations of price increases in the complaints are an alleged four-cent increase

in FICO’s standard royalty for FICO Scores used in connection with mortgage transactions in 2018

and unspecified increases for FICO Scores distributed to some auto and credit card customers.

This lone increase—alleged based on a 2021 investor letter that also notes “FICO had not increased

the price for its score in over 25 years” before the increases 80—does not suffice. That is particularly

true because Plaintiffs allege that FHFA rules have required the use of FICO Scores for mortgages

that are eligible for purchase by Fannie Mae and Freddie Mac. 81 Any alleged increase in the

royalties that FICO charges for FICO Scores used for that purpose is far more likely the result of

the “realities of the regulated environment” than the conduct Plaintiffs challenge. City of

Pittsburgh v. W. Penn. Power Co., 147 F.3d 256, 265 (3d Cir. 1998); see also CBC Companies,

561 F.3d at 573 (affirming dismissal of monopolization claims because, “to the extent that CBC

alleges an impact on the Mortgage Lender Market, the federal regulations are the more likely basis

for any putative injury, and not any specifically anticompetitive conduct”).

         At any rate, Plaintiffs do not pay the royalties FICO charges to the Credit Bureaus for

generating FICO Scores; they pay the prices set by the Credit Bureaus or other intermediaries.

Plaintiffs allege nothing at all about those prices. See Spinelli v. Nat’l Football League, 903 F.3d

185, 212 (2d Cir. 2018) (without “examples, data, or other facts to support [the] assertion,” “a

conclusory allegation that prices have increased will not suffice to state anticompetitive effect”);

Intel Corp. v. Fortress Inv. Grp. LLC, 511 F. Supp. 3d 1006, 1027-28 (N.D. Cal. 2021) (allegations

that “arguably suggest that supracompetitive pricing is possible” are insufficient); Top Rank, Inc.

v. Haymon, 2015 WL 9948936, at *8–9 (C.D. Cal. Oct. 16, 2015) (similar).


80
       Jose Karlo & Mari Tottoc, Headwaters Capital: ‘Fair Isaac Corp (FICO) Can Grow Its Free Cash
Flow by 15-20% Annually’, YAHOO! FINANCE (Jan. 23, 2021), https://finance.yahoo.com/news/
headwaters-capital-fair-isaac-corp-202237954.html (cited in DPP n.100); DPP ¶ 139.
81
       DPP ¶ 139; IPP ¶ 159.


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         Finally, general claims that Plaintiffs were deprived of “choice” are also insufficient. 82

Conclusory allegations that conduct “has the effect of reducing consumers’ choices . . . do[] not

sufficiently allege an injury to competition” because these allegations “are fully consistent with a

free, competitive market.” FTC v. Qualcomm Inc., 969 F.3d 974, 990 (9th Cir. 2020) (quoting

Brantley v. NBC Universal, Inc., 675 F.3d 1192, 1202 (9th Cir. 2012)); see also Feitelson v. Google

Inc., 80 F. Supp. 3d 1019, 1029 (N.D. Cal. 2015) (“Plaintiffs’ allegations of hypothetical loss of

consumer choice and innovation are entirely too conclusory and speculative.”). And once more,

no Plaintiff alleges that it has been denied the choice between VantageScore and FICO.

IV.      Plaintiffs’ Federal Damages Claims Are Barred By Illinois Brick.

         Even if Plaintiffs could state a claim under any of their federal causes of action—and they

cannot—Plaintiffs are barred from seeking damages. Under well-established law, “only those

buyers who purchased products directly from the antitrust violator have a claim against that party

for treble damages.” Marion Healthcare, 952 F.3d at 836 (citing Illinois Brick Co. v. Illinois, 431

U.S. 720 (1977)). As to FICO, however, all Plaintiffs here are at best indirect purchasers.

         A.     The “Direct Purchaser” Complaint involves only indirect purchasers.

         As noted above, in consolidating the complaints in these cases, the Court distinguished

between two categories of potential plaintiffs. See supra pp. 6-7. The first category, the “FICO-

Direct Purchasers,” included “[a]ll B2B Purchasers residing in the United States that directly

purchased a FICO Score from Fair Isaac.” Dkt. 83 at 7. The second category, the “Credit Bureau

Purchasers,” included “all B2B Purchasers residing in the United States that directly purchased a

FICO Score from Fair Isaac and/or a Credit Bureau.” Id. (emphasis added by the Court). But the




82
         DPP ¶ 143; IPP ¶ 164.


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Court did not decide whether either category were direct purchasers from FICO under Illinois

Brick, concluding that these questions should await adversarial briefing. Id. at 12.

         It is now appropriate to answer that question. To begin, it is now clear that the only

plaintiffs at issue in the “Direct Purchaser” complaint are Credit Bureau Purchasers. Previously,

counsel for the “direct” Plaintiffs told the Court that Amalgamated Bank was a direct purchaser

from FICO because Amalgamated Bank supposedly “contract[s] only with Fair Isaac to purchase

credit scores.” Dkt. 73 at 4 (emphasis in original); see also Dkt. 83 at 6 (“Amalgamated Bank . . .

says it bought FICO scores directly from FICO as well as from Credit Bureaus”). But Plaintiffs

have now walked back that allegation. Like all of the other named plaintiffs in the “direct”

complaint, Amalgamated Bank allegedly purchases from FICO and a Credit Bureau; no plaintiff

is alleged to have bought only from FICO directly. 83 Further, the “direct” complaint offers just one

class definition, which tracks the Court’s definition of “Credit Bureau Purchasers.” 84

         The fact that the “direct” complaint is brought only by and on behalf of Credit Bureau

Purchasers requires dismissal of the federal damages claims. As Plaintiffs explicitly allege, FICO

Scores and credit reports are “sold by Credit Bureaus” and the Credit Bureaus “in return, pay a

royalty to Fair Isaac.”85 As to FICO, Credit Bureau Purchasers are thus, at best, indirect purchasers.

         Plaintiffs try to muddle this conclusion by alleging that in “reality” FICO and the Credit

Bureaus both act as the provider of the FICO Score. 86 That conclusory label is irrelevant, for as

the Supreme Court recently explained, the significant question for Illinois Brick is whether the



83
       See DPP ¶ 17 (“Amalgamated Bank directly purchased B2B credit scores from Fair Isaac, Experian,
and Equifax.”) & ¶¶ 15-16, 18-21 (stating that plaintiffs “directly purchased” credit scores from either
(1) FICO and one or more Credit Bureaus, or (2) a Credit Bureau only).
84
       Compare Dkt. 83 at 7 with DPP ¶ 144 (proposed class of “[a]ll B2B Purchasers . . . that directly
purchased a FICO score from Fair Isaac and/or a Credit Bureau”).
85
       DPP ¶¶ 3, 42.
86
       DPP ¶ 42; IPP ¶ 46.


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plaintiff “pay[s] the alleged overcharge directly to [the defendant]” or to some other intermediary.

Apple Inc. v. Pepper, 139 S. Ct. 1514, 1521 (2019). Plaintiffs do not pay FICO anything, and the

“overcharge” they identify relates to the royalty paid by the Credit Bureaus.

         Plaintiffs also allege that “certain” class members’ contracts with the Credit Bureaus

“specify that ‘in consideration of [the Credit Bureau]/Fair Isaac’s performance’ of their obligations

to provide” FICO Scores or credit reports, the purchaser “shall ‘pay [the Credit Bureau]/Fair Isaac

fees’ for those products.”87 But critically, Plaintiffs do not allege that putative class members with

such a contract make payments directly to FICO either. Allegations that a plaintiff purchased from

an intermediary while entering into a “financial relationship” with an upstream entity are

insufficient to support direct purchaser status as a matter of law. Kloth v. Microsoft Corp., 444 F.3d

312, 321 (4th Cir. 2006).88

         Industry participants uniformly agree that Credit Bureau Purchasers are indirect

purchasers. Government regulators, for example, recognize that when a lender purchases a FICO

Score from a Credit Bureau, the Credit Bureau is the one distributing the score and setting the

price. See supra pp. 5-6. Similarly, in the TransUnion litigation, which Plaintiffs rely on for nearly

all of their substantive allegations, TransUnion stated that it was the “direct purchaser (or licensee)

of Fair Isaac’s FICO products.”89 And one Credit Bureau Purchaser, Alternative Finance, even

submitted its contracts with Experian during the briefing on competing leadership proposals,

explaining that “[t]he relevant relationships and payment flows show that the credit bureaus are

the direct purchasers of FICO Scores in this distribution chain.” Dkt. 62 at 2; Dkt. 63-1. Notably,



87
        DPP ¶ 42.
88
        See also In re Dicamba Herbicides Litig., 2019 WL 1160817, at *2 (E.D. Mo. Mar. 13, 2019)
(alleged requirement to enter into a license agreement with Monsanto as part of purchase from a third party
did not make plaintiffs direct purchasers); Siena v. Microsoft Corp., 796 A.2d 461, 464 (R.I. 2002) (similar).
89
        Dkt. 38 ¶ 7, FICO v. Trans Union LLC, No. 1:17-cv-8318 (N.D. Ill. Feb. 12, 2018).


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Plaintiffs do not submit any of their own contracts—which they presumably would do if they

thought the terms would support an entitlement to pursue damages from FICO.

         B.     No “conspiracy exception” to Illinois Brick applies.

         Even where a plaintiff is an indirect purchaser from a defendant, the Seventh Circuit has

held that the plaintiff can pursue damages claims if the intermediary and the upstream entity were

involved in a conspiracy. The “conspiracy exception” to Illinois Brick provides that where there is

a conspiracy to support supracompetitive prices, the buyer in the “first sale outside the conspiracy”

has the right to sue for damages. Marion Healthcare, 952 F.3d at 839. This may explain why

Plaintiffs have attempted to plead a hub-and-spoke conspiracy between the Credit Bureaus and

FICO, but it cannot save Plaintiffs’ federal damages claims. As already explained, allegations of a

conspiracy between FICO and the Credit Bureaus are facially implausible. See supra pp. 26-30.

Plaintiffs therefore cannot avail themselves of this exception.

V.       Plaintiffs’ State Law Claims Also Should Be Dismissed.

         One final matter involves the tag-along state claims in the complaints. These include

roughly 50 claims under state competition and unfair and deceptive practices laws (Claims 7 and

8) and, for the Indirect Purchaser Plaintiffs only, unjust enrichment (Claim 9). As explained below,

the state law claims are derivative of the federal claims and also suffer from independent flaws.

         A.     The state law claims fail for the same reasons as the federal claims.

         All of the state antitrust laws invoked in the complaints track federal law, based either on

express statutory harmonization language or judicial interpretation. 90 The state antitrust claims


90
        Arizona—Tee Time Arrangers, Inc. v. Vistoso Gold Partners, LLC, 2008 WL 4149295, at *5 (Ariz.
Ct. App. Feb. 28, 2008); California—Lenhoff Enters., Inc. v. United Talent Agency, Inc., 729 F. App’x
528, 531 (9th Cir 2018); Connecticut—Dichello Distribs., Inc. v. Anheuser-Busch, LLC, 2021 WL
4170681, at *6 (D. Conn. Sept. 14, 2021); DC.— Atl. Coast Airlines Holdings, Inc. v. Mesa Air Grp., Inc.,
295 F. Supp. 2d 75, 87 (D.D.C. 2003); Illinois—Gutnayer v. Cendant Corp., 116 Fed. App’x 758, 761 (7th
Cir. 2004); 740 Ill. Comp. Stat. 10/11; Iowa—Mueller v. Wellmark, Inc., 861 N.W.2d 563, 567 (Iowa


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thus fail for the same reasons as the federal claims. See, e.g., In re Humira (Adalimumab) Antitrust

Litig., 465 F. Supp. 3d 811, 847 (N.D. Ill. 2020); In re Plavix Indirect Purchaser Antitrust Litig.,

2011 WL 335034, at *5 (S.D. Ohio Jan. 31, 2011).

       Plaintiffs’ consumer protection and unfair trade practices claims are also derivative of the

federal claims. The complaints never “explain[] (or even imply[]) what was unfair or

unconscionable” about the challenged conduct “beyond its potential to restrain competition or

effect an unlawful monopoly.” Humira, 465 F. Supp. 3d at 848.91 Where a complaint “sounds in

antitrust,” tag-along consumer protection or unfair trade practices claims rise and fall with the

antitrust claims unless “something more” is alleged “to understand why the nonactionable antitrust

conduct” would support a claim under other laws. Id. at 847-48.

       B.      Plaintiffs’ state law claims fail for additional reasons.

       Plaintiffs would fail to state a claim under many of their state causes of action even if

Plaintiffs’ underlying antitrust theories were valid. A table summarizing these independent bases

for dismissal is attached as Exhibit A hereto for the Court’s convenience.


2015); Kansas—Kan. Stat. § 50-163(b); Maine—Davric Me. Corp. v. Rancourt, 216 F.3d 143, 149 (1st
Cir. 2000); Michigan—Little Caesar Enters., Inc. v. Smith, 895 F. Supp. 884, 898 (E.D. Mich. 1995);
Minnesota—State v. Alpine Air Prods, Inc., 490 N.W.2d 888, 894 (Minn. Ct. App. 1992); Mississippi—
Futurevision Cable Sys., Inc. v. Multivision Cable TV Corp., 789 F. Supp. 760, 780 (S.D. Miss. 1992);
Missouri—Stensto v. Sunset Mem’l Park, Inc., 759 S.W.2d 261, 266 (Mo. Ct. App. 1988); Nebraska—
Neb. Rev. Stat. § 59-829; Nevada—N.R.S. 598A.050; New Hampshire—Minuteman, LLC v. Microsoft
Corp., 795 A.2d 833, 836 (N.H. 2002); N.H. Rev. Stat. Ann. § 356.14; New Mexico—Romero v. Philip
Morris Inc., 242 P.3d 280, 291 (N.M. 2010); New York—Sperry v. Crompton Corp., 863 N.E.2d 1012,
1018 (N.Y. 2007); North Carolina—Crain v. Debartolo, 2015 WL 73961, at *8 n.3 (E.D.N.C. Jan. 6,
2015); North Dakota—In re Namenda Indirect Purchaser Antitrust Litig., 338 F.R.D. 527, 572 (S.D.N.Y.
2021); Oregon—Or. Laborers-Emps. Health & Welfare Tr. Fund v. Philip Morris Inc., 185 F.3d 957, 963
n.4 (9th Cir. 1999); Rhode Island—ERI Max Ent., Inc. v. Streisand, 690 A.2d 1351, 1353 n.1 (R.I. 1997);
R.I. Gen. Laws § 6–36–2(b); South Dakota—Byre v. City of Chamberlain, 362 N.W.2d 69, 74 (S.D. 1985);
Tennessee—Spahr v. Leegin Creative Leather Prods., Inc., 2008 WL 3914461, at *14 (E.D. Tenn. Aug.
20, 2008); Utah—Evans v. State, 963 P.2d 177, 180–82 (Utah 1998); Utah Code Ann. § 76-10-3118;
Vermont—Vt. Stat. Ann. tit. 9, § 2453(b); West Virginia—Kessel v. Monongalia Cnty. Gen. Hosp. Co.,
648 S.E.2d 366, 379–81 (W. Va. 2007); W. Va. Code § 47-18-16; Wisconsin—Ashley Furniture Indus.,
Inc. v. Packaging Corp. of Am., 275 F. Supp. 3d 957, 968–69 (W.D. Wis. 2017).
91
         See DPP ¶¶ 309-21; IPP ¶¶ 341-61.


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         No intrastate nexus. The District of Columbia, Mississippi, Nevada, New Hampshire, New

York, North Carolina, South Dakota, Tennessee, West Virginia, and Wisconsin antitrust laws, and

the California, Massachusetts, New Hampshire, and North Carolina unfair trade practices laws

require a specific nexus between Defendants’ conduct and intrastate commerce, not merely a

purported increase in the prices paid by residents of a state.92 Contrary to this requirement,

Plaintiffs’ allegations as to each state simply repeat the boilerplate statement that Defendants’

conduct “substantially affected” commerce in that jurisdiction. Plaintiffs also allege that credit

score competition was “restrained, suppressed, and eliminated” in the relevant jurisdiction, credit

score prices were “fixed” at “artificially high levels,” Plaintiffs were deprived of “free and open

competition,” and Plaintiffs paid “supra-competitive, artificially inflated prices.” 93 These

conclusory statements fall far short of what is required.

         No class actions. The Illinois Antitrust Act prohibits class action antitrust claims by

indirect purchasers. 740 Ill. Comp. Stat. § 10/7(2). The same is true of consumer protection statutes

in Arkansas, Montana, and South Carolina. Ark. Code Ann. § 4-88-113(f)(1)(B); Mont. Code § 30-

14-133(1); S.C. Code Ann. § 39-5-140(a). These provisions are intertwined with the scope of the

state-created right because they reflect substantive judgments “about the feasibility of trying such


92
        Antitrust Laws: District of Columbia—Sun Dun, 770 F. Supp. at 289; Mississippi—In re
Microsoft Corp. Antitrust Litig., 2003 WL 22070561, at *2 (D. Md. Aug. 22, 2003); Cal. v. Infineon Techs.
AG, 531 F. Supp. 2d 1124, 1158-1159 (N.D. Cal. 2007); Nevada—Nev. Rev. Stat. Ann. § 598A.060(1);
New Hampshire—In re Refrigerant Compressors Antitrust Litig., 2013 WL 1431756, at *17 (E.D. Mich.
Apr. 9, 2013); New York—H-Quotient, Inc. v. Knight Trading Grp., Inc., 2005 WL 323750, at *4
(S.D.N.Y. Feb. 9, 2005); North Carolina—N.C. Gen. Stat. § 75-1; South Dakota—In re Dynamic
Random Access Memory (DRAM I) Antitrust Litig., 516 F. Supp. 2d 1072, 1099 (N.D. Cal. 2007);
Tennessee—Freeman Indus., LLC v. Eastman Chem. Co., 172 S.W. 3d 512, 523-24 (Tenn. 2005); West
Virginia—State ex rel. Palumbo v. Graley’s Body Shop, Inc., 425 S.E.2d 177, 183 n.11 (W. Va. 1992);
Wisconsin—Olstad v. Microsoft Corp., 700 N.W.2d 139, 158 (Wis. 2005). Unfair Trade Practices Laws:
California—Meridian Project Sys. Inc. v. Hardin Constr. Co., 404 F. Supp. 2d 1214, 1225 (E.D. Cal.
2005); Massachusetts—Mass. Gen. Laws Ch. 93A, § 11; New Hampshire—Mueller Co. v. U.S. Pipe &
Foundry Co., 2003 WL 22272135, at *6 (D.N.H. Oct. 2, 2003); North Carolina—Duke Energy Int’l,
L.L.C. v. Napoli, 748 F. Supp. 2d 656, 677 (S.D. Tex. 2010).
93
        E.g., DPP ¶¶ 278, 308; IPP ¶ 310.


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claims and the potential danger of duplicative recoveries.” Ill. ex rel. Burris v. Panhandle E. Pipe

Line Co., 935 F.2d 1469, 1480 (7th Cir. 1991). Under Justice Stevens’s concurrence in Shady

Grove Orthopedic Associates, P.A. v. Allstate Insurance Co., 559 U.S. 393 (2010)—the narrowest

and thus controlling opinion, see Racher v. Westlake Nursing Home Ltd. P’ship, 871 F.3d 1152,

1162 (10th Cir. 2017)—these provisions are applicable in federal court. 94

         Intangible services. Tennessee’s antitrust statute “applies only to tangible goods, not

intangible services.” Bennett v. Visa U.S.A. Inc., 198 S.W.3d 747, 751–53 (Tenn. Ct. App. 2006).

Credit scores are intangible services to which Tennessee antitrust law does not apply.

         Non-actionable allegations. To state a claim under the consumer protection laws of

Arkansas, New Mexico, Rhode Island, South Dakota, and West Virginia, plaintiffs must allege

more than that a defendant violated the antitrust laws or charged supracompetitive prices. In re

Graphics Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1029-30 (N.D. Cal. 2007); In re

Dynamic Random Access Memory Antitrust Litig., 516 F. Supp. 2d 1072, 1118 (N.D. Cal. 2007);

S.D. Codified Laws § 37–24–6 (antitrust violations not enumerated in list of “deceptive act or

practices”). Plaintiffs do not make any such allegations.

         No particularity. Florida and South Dakota’s consumer protection laws require plaintiffs

to plead specific allegations regarding fraud or deception. Fla. Stat. § 501.204; S.D. Codified Laws

§ 37-24-6. Yet Plaintiffs do not plead any such facts. See In re Packaged Ice Antitrust Litig., 779

F. Supp. 2d 642, 665 (E.D. Mich. 2011) (dismissing Florida claim); In re New Motor Vehicles

Canadian Export Antitrust Litig., 350 F. Supp. 2d 160, 202 (D. Me. 2004) (South Dakota).




94
        See, e.g., Humira, 465 F. Supp. 3d at 850; In re Opana ER Antitrust Litig., 162 F. Supp. 3d 704,
723 (N.D. Ill. 2016); In re Auto. Parts Antitrust Litig., 2014 WL 3687035, at *2-3 (E.D. Mich. July 23,
2014); In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 416 (D.N.J. 2018) (all enforcing class action bars).


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         Improper market definition. Hawaii, Missouri, Montana, and Rhode Island’s consumer

protection laws do not provide a right of action for items purchased primarily for business or

commercial purposes. See Haw. Rev. Stat. § 480-1; Mo. Rev. Stat. § 407.010; Mont. Code § 30-

14-103/30-14-201; R.I. Gen. Laws § 6-13.1-5.2. Plaintiffs expressly allege antitrust violations in

the “business to business” credit scoring market as distinct from the consumer market.

         No bargaining disparity. New Mexico’s consumer protection statute requires plaintiffs to

plead a level of “grossly unequal bargaining power” that Plaintiffs have not alleged here. See In re

Graphics Processing Units, 527 F. Supp. 2d at 1029–30. Accordingly, Plaintiffs’ claims under that

law must be dismissed.

         No unconscionability. Arkansas and D.C.’s consumer protection laws require the plaintiff

to plead some degree of unconscionability. In re Graphics Processing Units, 527 F. Supp. 2d at

1029; Riggs Nat’l Bank v. D.C., 581 A.2d 1229, 1251 (D.C. 1990). North Carolina’s unfair trade

practices law similarly requires a plaintiff to allege egregious or aggravating circumstances, not

mere “business-related conduct.” Dalton v. Camp, 548 S.E.2d 704, 712 (N.C. 2001). Plaintiffs

have not alleged such conduct here.

         Statute of limitations. Oregon’s consumer protection statute has a one-year limitations

period. See ORS § 646.638. The first complaint by any plaintiff was not filed until April 2020. Yet

the Indirect Purchaser Plaintiffs now admit that the statute of limitations began to run, at the latest,

in February 2018.95 Accordingly, the Oregon claim is untimely on the face of the complaint.

         No direct purchaser. Missouri prohibits antitrust claims by plaintiffs who did not purchase

products or services from, and therefore “made no payment directly to,” a defendant. Ireland v.

Microsoft Corp., 2001 WL 1868946, at *1 (Mo. Cir. Ct. Jan. 24, 2001). Massachusetts’ unfair



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         IPP ¶¶ 112, 185.


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trade practices law does the same. In re Aggrenox Antitrust Litig., 2016 WL 4204478, at *8-9 (D.

Conn. Aug. 9, 2016). Similarly, because Rhode Island’s Illinois Brick repealer law applies only to

damages incurred after July 15, 2013, claims for damages under Rhode Island law prior to July 15,

2013 are barred. In re Loestrin 24 FE Antitrust Litig., 410 F. Supp. 3d 352, 374 (D.R.I. 2019).

         No unjust enrichment. Only the Indirect Purchaser Plaintiffs bring claims for unjust

enrichment. The complaint, however, does not specify whether the claim is an “autonomous” claim

independent of the antitrust or consumer protection claims or a “parasitic” claim that merely seeks

an alternative remedy. See In re Digital Music Antitrust Litig., 812 F. Supp. 2d 390, 411 (S.D.N.Y.

2011). If Plaintiffs are asserting autonomous claims, those claims fail because there is no cause of

action for unjust enrichment separate and apart from the predicate causes of action. Id. at 412; New

Motor Vehicles, 350 F. Supp. 2d at 209. If Plaintiffs are asserting parasitic claims, each fails for

the same reasons as the underlying claims. In re Digital Music, 812 F. Supp. 2d at 412-13. Nor

may Plaintiffs bring an unjust enrichment claim based on allegations that they overpaid for a

bargained product or service. In re Intel Corp. Microprocessor Antitrust Litig., 496 F. Supp. 2d

404, 421 (D. Del. 2007). Finally, where plaintiffs do not tailor unjust enrichment claims to the

specific requirements of the laws of each state, as here, courts routinely dismiss the claims because

the requirements vary by jurisdiction. E.g., In re Packaged Ice, 779 F. Supp. 2d at 667-68.

         No named plaintiffs. Plaintiffs in these cases do business in 9 states.96 But they purport to

bring claims under the laws of 25 additional states where no Plaintiff does business. Claims “under

the laws of the states in which no named [plaintiff] purchased” goods or services should be

dismissed for lack of standing. In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig., 2013 WL

4506000, at *7-8 (N.D. Ill. Aug. 23, 2013); see also Smith-Brown v. Ulta Beauty, 2019 WL


96
       DPP ¶¶ 15-21 (Arkansas, Massachusetts, Minnesota, Mississippi, Montana, New York, and
Pennsylvania); IPP ¶¶ 21-22 (Maine, Michigan).


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932022, at *5 (N.D. Ill. Feb. 26, 2019). Although this Court has previously concluded that

challenges to an in-state plaintiff’s ability to bring claims under the laws of other states do not

implicate standing concerns and can be resolved at class certification, Freeman v. MAM USA

Corp., 528 F. Supp. 3d 849, 858-59 (N.D. Ill. 2021), the Supreme Court has since confirmed that

plaintiffs “must demonstrate standing for each claim that they press.” TransUnion LLC v. Ramirez,

141 S. Ct. 2190, 2208 (2021) (emphasis added). Deferring this question does not make sense

because whether a class is certified “adds nothing” to the standing analysis. Simon v. E. Ky. Welfare

Rights Org., 426 U.S. 26, 40 n.20 (1976). Put another way, the class action device cannot create

standing for out-of-state claims that Plaintiffs could not bring in their individual capacities.

Accordingly, it is appropriate to dismiss these claims now, at the outset of the case. 97

                                             CONCLUSION

         The Court should dismiss Plaintiffs’ complaints.

Dated: January 18, 2022                                   Respectfully submitted,

                                                          /s/ Britt M. Miller
                                                          Britt M. Miller
                                                          Matthew D. Provance
                                                          Jed W. Glickstein
                                                          MAYER BROWN LLP
                                                          71 South Wacker Drive
                                                          Chicago, IL 60606-4637
                                                          (312) 782-0600
                                                          bmiller@mayerbrown.com
                                                          mprovance@mayerbrown.com
                                                          jglickstein@mayerbrown.com

                                                          Counsel for Defendant
                                                          Fair Isaac Corporation

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          Even if this Court concludes that it is not appropriate to dismiss claims brought under the laws of
states in which Plaintiffs do not do business, at a minimum, this Court should stay discovery on those claims
until it is clear that Plaintiffs will be able to pursue them. See Liston v. King.com, 254 F. Supp. 3d 989,
1001-02 (N.D. Ill. 2017) (“it would . . . be inappropriate to engage in wide-ranging discovery premised on
a prospect as to which there is substantial doubt—namely, Liston’s ability to assert causes of action created
by other states for the benefit of other individuals injured in those other states”).


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 18, 2022, I caused a true and correct copy of the foregoing

document to be filed electronically. Notice of the filing will be sent to all counsel of record by

operation of the Court’s electronic filing system.


Dated: January 18, 2022                              By: /s/ Britt M. Miller

                                                     Attorney for Fair Isaac Corporation
